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                                                                                    2009 Nov-30 PM 01:02
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION
---------------------------------------------------------------
J & J SPORTS PRODUCTIONS, INC.,
as Broadcast Licensee of the December 6, 2008,
DeLaHoya/Pacquaio Broadcast,                                  NOTICE OF VOLUNTARY
                                                              DISMISSAL

                              Plaintiff,                   Civil Action No. 2:09-CV-1944

            -against-

FIDEL CASTRO and MARIA ADAN a/k/a
MARIA CASTRO, Individually, and as officers,
directors, shareholders and/or principals of EL
POBLANO MEXICAN RESTAURANT, INC.,
d/b/a EL POBLANO MEXICAN
RESTAURANT, and EL POBLANO
MEXICAN RESTAURANT, INC., d/b/a EL
POBLANO MEXICAN RESTAURANT,

                               Defendants.
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       Plaintiff, J & J SPORTS PRODUCTIONS, INC., hereby compromises the

within action and no party herein being an infant or incompetent, hereby moves the

Court for an Order dismissing the above entitled action with prejudice and without

costs to either party, pursuant to Rule 41 (a)(1)of the Federal Rules of Civil

Procedure.



Dated: November 30, 2009
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       Ellenville, New York
                                  J & J SPORTS PRODUCTIONS, INC.

                                    By: /s/ Wayne D. Lonstein
                                         WAYNE D. LONSTEIN, ESQ.
                                          Attorney for Plaintiff
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                                        /s/ Michael C. Niemeyer
                                        Michael C. Niemeyer, Esq.
                                        Resident Counsel
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                                        Suite B
                                        Fairhope, AL 36532
                                        Telephone: (251)990-0739
                                        Facsimile: (251)544-1656
                                        Email: mniemeyer@handarendall.com
SO ORDERED this
___ day of _____________, 2009

______________________________________
HON. JAMES HUGHES HANCOCK
     United States District Judge
